                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR07-3004-MWB
 vs.                                                   DETENTION ORDER
 ORONDEE JACQUELL MAXWELL,
               Defendant.
                                ____________________


       This matter came on for detention hearing on February 5, 2007. Assistant U.S.
Attorney Shawn Wehde appeared on behalf of the plaintiff (the “Government”). The
defendant Orondee Jacquell Maxwell appeared in person with his attorney, R. Scott
Rhinehart. The Government offered the testimony of Task Force Officer David Tyler.
       The court must determine whether any condition or combination of conditions will
reasonably assure Maxwell’s appearance as required, as well as the safety of any other
person and the community, in deciding whether to grant the Government's motion for
detention. 18 U.S.C. § 3142(e). A defendant may be detained based on a showing of
either dangerousness or risk of flight; it is not necessary to show both. United States v.
Apker, 964 F.2d 742, 743 (8th Cir. 1992); United States v. Sazenski, 806 F.2d 846,848
(8th Cir. 1986).
       The court is to presume that no condition or combination of conditions will
reasonably assure the appearance of Maxwell as required and the safety of the community
if the court finds there is probable cause to believe Maxwell committed an offense of the
type identified in 18 U.S.C. § 3142(e) for which a maximum term of imprisonment of ten
years or more is prescribed by law. 18 U.S.C. § 3142(e); see 18 U.S.C. § 3142(f). The
probable cause element of section 3142(e) that triggers the rebuttable presumption of risk
of flight and danger to the community may be established through evidence presented at


   Case 3:07-cr-03004-MWB-CJW          Document 22      Filed 02/05/07    Page 1 of 3
the detention hearing of an offense which is subject to the rebuttable presumption. See
Apker, 964 F.2d at 744; United States v. Dorsey, 852 F.2d 1068, 1069 (8th Cir. 1988).
       In the present case, the record indicates that while on probation from a prior felony
drug conviction, Maxwell continued to engage in illegal activities, including arrests on
controlled substances charges, an assault charge, and a theft fifth charge. There are
outstanding warrants from Michigan for Maxwell’s arrest. He has lived in Mason City,
Iowa, for about four years and appears not to have engaged in any gainful employment
during that time.    Further, Maxwell has failed to offer any evidence to rebut the
presumption that he is a danger to the community. Viewing the record as a whole, the
court finds nothing to indicate Maxwell would be able to refrain from continuing to engage
in criminal activities if he were released.
       Accordingly, the court finds the Government has proved by a preponderance of the
evidence that Maxwell is a flight risk, and by clear and convincing evidence that Maxwell
would be a danger to the community if released. Therefore, the court finds the following:
       1.     Maxwell is committed to the custody of the Attorney General for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal.
       2.     The Attorney General shall afford Maxwell reasonable opportunity for
private consultation with counsel while detained.
       3.     On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver Maxwell to the
United States Marshal for the purpose of an appearance in connection with a court
proceeding.
       4.     If a “review” motion for revocation or amendment is filed, pursuant to 28
U.S.C. § 3145(a) or (b), the party requesting a change in the original order must:
              (a)    Attach a copy of the release/detention order to the appeal;


                                              2


   Case 3:07-cr-03004-MWB-CJW           Document 22      Filed 02/05/07     Page 2 of 3
             (b)    Promptly secure a transcript.
      5.     There is no automatic stay of this Order. Therefore, Maxwell must request
such relief from the court.
      IT IS SO ORDERED.
      DATED this 5th day of February, 2007.




                                        PAUL A. ZOSS
                                        MAGISTRATE JUDGE
                                        UNITED STATES DISTRICT COURT




                                           3


   Case 3:07-cr-03004-MWB-CJW         Document 22    Filed 02/05/07    Page 3 of 3
